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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
        v.                                     )       CRIMINAL NO. 19-10113-FDS
                                               )
LOUIS D. COLEMAN, III                          )

    GOVERNMENT’S OBJECTIONS TO CHIEF MAGISTRATE JUDGE’S ORDER
                              AND
              ASSENTED-TO MOTION TO ENLARGE TIME

       Pursuant to Fed. R. Crim. P. 59(a) and Rule 2(b) of the Rules for United States

Magistrate Judges in the United States District Court for the District of Massachusetts, the

government respectfully objects to so much of Chief Magistrate Judge M. Page Kelley’s

Order of November 17, 2020 as (1) denied the government’s motion to reconsider and

adhered to the court’s prior order that the government provide certain documents to the

defendant in order to prepare to mitigate a potential death penalty, and (2) ruled that said

documents constitute exculpatory material under Brady v. Maryland, 373 U.S. 83 (1963). 1

       The government further respectfully moves this Court to enlarge its time to file

memoranda in support of its objections, to and including December 4, 2020. In support

thereof, the government states that certain aspects of the Order, including in particular the

ruling that the materials constitute Brady material, have not previously been researched or

briefed by the government, and that the additional time will enable the government to

produce a filing that will provide greater assistance to the Court in resolving the issues raised

by the government’s objections.




1
  Chief Judge Kelley has stayed her Order to enable the government to pursue its objections
to the Order. See Rule 2(c) of the Rules for United States Magistrate Judges in the United
States District Court for the District of Massachusetts.
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       The defendant, through counsel, has expressed his assent to the allowance of the

government’s motion to enlarge its time to file its memoranda.

                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                               By:     /s/Robert E. Richardson
                                                       WILLIAM ABELY, II
                                                       KENNETH G. SHINE
                                                       ROBERT E. RICHARDSON
                                                       Assistant U.S. Attorneys

                            CERTIFICATE OF SERVICE

Suffolk, ss:                                         December 1, 2020

        I, Robert E. Richardson, hereby certify that this document filed through the
 ECF system will be sent electronically to the registered participants as identified on the
 Notice of Electronic Filing (NEF).

                                                     /s/Robert E. Richardson
                                                     ROBERT E. RICHARDSON
